                                                                                      Motion GRANTED.
                        UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT COURT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
V.                                             )              No. 2:11-00002-25
                                               )
COURTNEY JO RABIDEAU                           )              Judge Trauger
                                               )


                            MOTION TO CONTINUE TRIAL
       Comes now the Defendant, Courtney Jo Rabideau, by and through undersigned counsel,

Bob Lynch, Jr., and hereby moves to continue the jury trial in this cause presently set for

Tuesday, July 30, 2013, at 9:00 a.m. until a date certain in the future.

       In support of this motion, the Defendant is relying on the Affidavit of Bob Lynch, Jr.

filed with this motion. Also, the Defendant is filing her Waiver of Speedy Trial Rights

contemporaneously with this motion.



                                                       Respectfully Submitted,

                                                        /s/ Bob Lynch, Jr.
                                                       Bob Lynch, Jr. (BPR# 6298)
                                                       Washington Square, Suite 316
                                                       222 Second Avenue North
                                                       Nashville, TN 37201
                                                       615-255-2888
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                                                       Attorney for Defendant




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